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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                     Case No. 1:13-cr-95
v.
                                                     HONORABLE PAUL L. MALONEY
DAVID ALLEN PURCHASE,

                  Defendant.
_________________________________/

               ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed by United States

Magistrate Judge Joseph G. Scoville in this action. The Report and Recommendation was duly

served on the parties, and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge (ECF No. 10) is

approved and adopted as the opinion of the Court.

       2.      Defendant’s plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in Count One of the Felony Information.

       3.      The written plea agreement is hereby continued under advisement pending

sentencing.


Date: August 1, 2013                                  /s/ Paul L. Maloney
                                                     Paul L. Maloney
                                                     Chief United States District Judge
